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                                                                                                           MENTOR WORLDWIDE LLC
                                                                                                        10
                                                                                                                                 UNITED STATES DISTRICT COURT
                                                                                                        11
                                                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        12
                                                                                                        13
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                                                                                                        14 BRITTANY BILLETTS, an individual;) Case No. 5:19-cv-1026
                                                                                                           VIVIAN AGUIAR, an individual; ANN)
                                                                                                        15 DELMONICO, an individual; CORNELIA
                                                                                                                                            )
                                                                                                           DITTO, an individual; LEAH JOHNSON,
                                                                                                                                            )
                                                                                                        16 an individual;                   ) DEFENDANT MENTOR
                                                                                                                                            ) WORLDWIDE LLC’S NOTICE OF
                                                                                                        17                                  ) REMOVAL UNDER 28 U.S.C. §§ 1332,
                                                                                                                              Plaintiffs,   ) 1441, 1446 (DIVERSITY
                                                                                                        18                                  ) JURISDICTION)
                                                                                                                  v.                        )
                                                                                                        19                                  )
                                                                                                             MENTOR WORLDWIDE, LLC; NUSIL, ) JURY TRIAL DEMANDED
                                                                                                        20   LLC; NUSIL TECHNOLOGY LLC; and )
                                                                                                             DOES 1–100, inclusive,         ) Complaint Filed: February 22, 2019
                                                                                                        21                                  )
                                                                                                                              Defendants.   ) Related to Case No. 2:19-CV-01484
                                                                                                        22                                  ) (Jacob, et al. v. Mentor Worldwide,
                                                                                                                                            ) LLC, et al.)
                                                                                                        23                                  )
                                                                                                                                            ) [Filed Concurrently with Declaration of
                                                                                                        24                                  ) Monee Takla Hanna; Declaration of
                                                                                                                                            ) Dustin Rawlin; Notice of Related Case]
                                                                                                        25                                  )
                                                                                                                                            )
                                                                                                        26                                  )
                                                                                                        27
                                                                                                        28

                                                                                                                                                      1
                                                                                                                             DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
                                                                                                             Case 5:19-cv-01026-AB-PLA Document 1 Filed 06/05/19 Page 2 of 13 Page ID #:2


                                                                                                         1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT,
                                                                                                         2 CENTRAL DISTRICT OF CALIFORNIA:
                                                                                                         3         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,
                                                                                                         4 Defendant Mentor Worldwide LLC (“Mentor”), through undersigned counsel, hereby
                                                                                                         5 timely removes this case from the Superior Court of California, County of San Bernardino,
                                                                                                         6 to the United States District Court for the Central District of California, Eastern Division.1
                                                                                                         7 I. INTRODUCTION
                                                                                                         8         This is the second instance in which this case has been removed to federal court.
                                                                                                         9 This successive removal, however, is proper and timely, as it is filed within thirty days of
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                                                                                                        10 receipt of “other paper”—a deposition transcript of NuSil LLC’s corporate representative
                                                                                                        11 which confirms that this case is now removable. Specifically, Mr. Edward Scott Mraz’s
                                                                                                        12 testimony unequivocally demonstrates NuSil LLC is not a proper party to this action. Given
                                                                                                        13 that NuSil LLC is the only nondiverse defendant named in Plaintiffs’ Complaint and that
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                                                                                                        14 Mr. Mraz’s deposition testimony conclusively demonstrates that it was improperly and
                                                                                                        15 fraudulently joined, this Court has diversity jurisdiction over this action and it should
                                                                                                        16 remain in federal court.
                                                                                                        17 II. PROCEDURAL HISTORY OF THE BILLETTS CASE
                                                                                                        18               On or about February 22, 2019, Plaintiffs Brittany Billetts (“Plaintiff
                                                                                                        19 Billetts”), Vivian Aguiar (“Plaintiff Aguiar”), Ann Delmonico (“Plaintiff Delmonico”),
                                                                                                        20 Cornelia Ditto (“Plaintiff Ditto”) and Leah Johnson (“Plaintiff Johnson,” and collectively
                                                                                                        21 “Plaintiffs”), filed a Complaint captioned Brittany Billetts, et al. v. Mentor Worldwide LLC,
                                                                                                        22 et al., Case No. CIVDS1905706 (“Billetts” or the “State Court Action”) in the Superior
                                                                                                        23
                                                                                                        24
                                                                                                        25
                                                                                                           1 By removing this action to this Court, Mentor does not waive any defenses, objections,
                                                                                                        26 or motions available under state or federal law. Further, Mentor expressly reserves the right
                                                                                                        27 to move for dismissal of some or all of Plaintiffs’ claims and/or seek dismissal on grounds
                                                                                                           of lack of personal jurisdiction, insufficient or improper service, improper venue, or forum
                                                                                                        28 non conveniens.
                                                                                                                                                          2
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                                                                                                         1 Court of California, County of San Bernardino. The Complaint names as defendants
                                                                                                         2 Mentor, NuSil LLC, and NuSil Technology LLC.
                                                                                                         3             Plaintiffs allege that Mentor manufactured MemoryGel silicone gel breast
                                                                                                         4 implants (“MemoryGel Implants”) that caused Plaintiffs’ various injuries. See Ex. A,2
                                                                                                         5 Complaint (“Compl.”) ¶¶ 7, 21–39.
                                                                                                         6                Plaintiffs allege that NuSil LLC and NuSil Technology LLC (collectively, the
                                                                                                         7 “NuSil Defendants”) manufactured, supplied, and specially designed silicone raw
                                                                                                         8 materials, including “kits containing a variety of chemicals,” that were used by Mentor in
                                                                                                         9 the manufacturing of the MemoryGel Implants. See id. ¶¶ 106–08.
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                                                                                                        10                Plaintiffs assert claims against Mentor for negligence and negligence per se,
                                                                                                        11 strict liability – failure to warn, and strict liability – manufacturing defect. See id. ¶¶ 112–
                                                                                                        12 226.
                                                                                                        13                Of the five plaintiffs who filed this action, only one has a connection to
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                                                                                                        14 California. Specifically, Plaintiff Billetts alleges that she resided in California at all times
                                                                                                        15 relevant to this action. See id. ¶ 1. The remaining four plaintiffs have no alleged connection
                                                                                                        16 whatsoever to California. See id. ¶¶ 2–5.
                                                                                                        17                On March 20, 2019, Defendant Mentor snap removed this case to federal
                                                                                                        18 court on diversity jurisdiction before all the parties had been served with the complaint and
                                                                                                        19 summons. See Ex. B, Billetts Prior Federal Court Docket at Ex. B-5–24.
                                                                                                        20                On March 25, 2019, the parties stipulated to remand the action back to state
                                                                                                        21 court after Mentor acquired new information regarding service of the summons. Id. at Ex.
                                                                                                        22 B-72–77.
                                                                                                        23                Once the case was remanded to state court, both Mentor and the NuSil
                                                                                                        24 Defendants demurred to Plaintiffs’ complaint. The demurrers are fully briefed, but the
                                                                                                        25
                                                                                                        26
                                                                                                        27
                                                                                                           2 All exhibits referenced herein are attached to the Declaration of Monee Takla Hanna
                                                                                                        28 (“Hanna Decl.”) concurrently filed herewith.
                                                                                                                                                            3
                                                                                                                               DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
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                                                                                                         1 court has not yet ruled on them. Exs. C & D, Billetts State Court Docket (including copies
                                                                                                         2 of all state court briefing filed to date in this case).
                                                                                                         3                The parties have not engaged in any case-specific discovery in this matter.
                                                                                                         4 Hanna Decl. ¶ 4.
                                                                                                         5 III. BACKGROUND ON CALIFORNIA MEMORYGEL IMPLANT CASES
                                                                                                         6         A. Plaintiffs’ Counsel Has Filed Several Virtually Identical Complaints in
                                                                                                                      California State Court.
                                                                                                         7
                                                                                                                          This is one of several cases involving Mentor’s MemoryGel Implants that
                                                                                                         8
                                                                                                             have been filed in California state court by this Plaintiffs’ firm (Lenze Lawyers, PLC).
                                                                                                         9
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                                                                                                                          The complaints in each of these cases are largely identical and allege the same
                                                                                                        10
                                                                                                             exact product liability and negligence causes of action against the same defendants. Hanna
                                                                                                        11
                                                                                                             Decl. ¶ 5; see also supra ¶¶ 2–4 (discussing claims and defendants).
                                                                                                        12
                                                                                                                          NuSil LLC is the only California defendant named in these complaints. See
                                                                                                        13
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                                                                                                             infra ¶¶ 47–49. To be clear, all other defendants are citizens of other states. Id.
                                                                                                        14
                                                                                                                   B.   A Ruling in the First California MemoryGel Implant Case Precluded
                                                                                                        15              Removal of Later-Filed Cases on Diversity Grounds.

                                                                                                        16                The first MemoryGel Implant case Plaintiffs’ counsel filed in California state

                                                                                                        17 court—Nicole Vieira, et al. v. Mentor Worldwide LLC, et al., Case No. BC711663—was
                                                                                                        18 filed on June 27, 2018 in the Superior Court of California, County of Los Angeles. Hanna
                                                                                                        19 Decl. ¶ 6.
                                                                                                        20                Mentor removed the Vieira case on diversity grounds within thirty days of

                                                                                                        21 service, arguing that NuSil LLC was fraudulently joined and was an improper defendant
                                                                                                        22 against which plaintiffs could not plausibly state a product liability or negligence claim, as
                                                                                                        23 it is merely a holding company and has never manufactured silicone or silicone products.
                                                                                                        24 Id.
                                                                                                        25                The Vieira case was remanded back to state court because the judge found

                                                                                                        26 that there was an “issue of fact” as to whether NuSil LLC “never manufactured silicone”
                                                                                                        27 and therefore as to whether NuSil LLC was a properly named party. Ex. E, Vieira Order
                                                                                                        28 at 7.
                                                                                                                                                             4
                                                                                                                                DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
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                                                                                                         1                The Vieira court specifically noted that this issue of fact arose from a 2013
                                                                                                         2 Statement of Information NuSil LLC filed with the California Secretary of State, which
                                                                                                         3 described NuSil’s “Type of Business” as “Manufacture of Silicone Products.” Id. at 6.
                                                                                                         4                In light of this ruling, none of the other Mentor MemoryGel Implant cases that
                                                                                                         5 Plaintiffs’ counsel filed in California state court against the same stable of defendants—
                                                                                                         6 including the instant case—were removable on diversity grounds when they were initially
                                                                                                         7 filed.
                                                                                                         8                Accordingly, due to the Vieira Order, Mentor did not file another removal on
                                                                                                         9 diversity grounds, as this issue of fact remained unresolved.
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                                                                                                        10          C. Mentor Snap Removed Later-Filed Cases where NuSil LLC had not been
                                                                                                                       Properly Served.
                                                                                                        11
                                                                                                                          Mentor did, however, file snap removals in later-filed MemoryGel Implant
                                                                                                        12
                                                                                                             cases where NuSil LLC had not yet been served, including the instant case (see supra ¶ 6).
                                                                                                        13
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                                                                                                                          One of those cases included Tammi Jacob, et al. v. Mentor Worldwide, LLC,
                                                                                                        14
                                                                                                             et al., Case No. 19STCV06514, which was originally filed in the Superior Court of
                                                                                                        15
                                                                                                             California, County of Los Angeles on February 27, 2019. Hanna Decl. ¶ 7.
                                                                                                        16
                                                                                                                          Mentor snap removed the Jacob case the following day, on February 28, 2019,
                                                                                                        17
                                                                                                             to the United States District Court, Central District of California. Id.
                                                                                                        18
                                                                                                                          The Jacob case is currently pending before Judge Phillip S. Gutierrez (Case
                                                                                                        19
                                                                                                             No. 2:19-cv-01484). Id.; see also Notice of Related Case (filed concurrently herewith).
                                                                                                        20
                                                                                                                    D. A Central District of California Judge Issued an Order allowing for Early
                                                                                                        21             Discovery to Determine Whether NuSil LLC Is a Proper Defendant.

                                                                                                        22                The plaintiffs in the Jacob case moved for remand on May 29, 2019. Id.

                                                                                                        23                Judge Gutierrez still has not ruled on the motion for remand. Id.

                                                                                                        24                Instead, on April 26, 2019, Judge Gutierrez issued an order allowing the

                                                                                                        25 parties to initiate early discovery for the limited purpose of determining “the propriety of
                                                                                                        26 NuSil LLC as a defendant” (Ex. F, Jacob Order at 2)—i.e., to definitively answer the
                                                                                                        27 question of fact raised by the Vieira court.
                                                                                                        28
                                                                                                                                                            5
                                                                                                                                DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
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                                                                                                         1        E.   Plaintiffs Voluntarily Took the Deposition of NuSil LLC’s Corporate
                                                                                                                       Representative, Who Confirmed that NuSil LLC Is Not a Proper
                                                                                                         2             Defendant in these Actions.
                                                                                                         3               After the Jacob court issued an order permitting early discovery to determine
                                                                                                         4 the propriety of NuSil LLC as a defendant in these actions, Plaintiffs’ counsel noticed the
                                                                                                         5 deposition of NuSil LLC’s corporate representative, Mr. Edward Scott Mraz, who has been
                                                                                                         6 a member of NuSil LLC since August 1, 2005. Ex. G, Notice of Deposition; Ex. H, 5/9/19
                                                                                                         7 Mraz Dep. Tr. at 7:4–13.
                                                                                                         8               Mr. Mraz’s deposition went forward on May 9, 2019. Hanna Decl. ¶ 15.
                                                                                                         9               During the deposition, Mr. Mraz confirmed—in no uncertain terms—that
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                                                                                                        10 NuSil LLC was merely a holding company that has conducted no business activity and has
                                                                                                        11 no function other than to hold stock for its members. Ex. H, 5/9/19 Mraz Dep. Tr. at 18:7–
                                                                                                        12 21, 19:11–19, 37:8–12. Specifically, Mr. Mraz confirmed that:
                                                                                                        13             a. “NuSil, LLC has not developed, designed, manufactured, supplied or
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                                                                                                        14                  distributed any products[,] including the silicone or silicone gel used to
                                                                                                        15                  manufacture breast implants” (id. at 40:8–12);
                                                                                                        16               b. “NuSil, LLC has no ownership interest in or control over the plant,
                                                                                                        17                  equipment, and supplies that are used in the manufacture of silicone or
                                                                                                        18                  silicone gel[,] which are used in breast implants or any other products”
                                                                                                        19                  (id. at 40:2–7); and
                                                                                                        20               c. “NuSil, LLC exercises no control over [any entity,] which is involved in
                                                                                                        21                  the development, design, manufacture, supply or distribution of silicone
                                                                                                        22                  or silicone gel used in the manufacture of breast implants” (id. at 40:13–
                                                                                                        23                  19).
                                                                                                        24               Mr. Mraz also clarified that a 2013 form filed with the Secretary of State of
                                                                                                        25 California that indicated NuSil LLC was a manufacturer of silicone products was a clerical
                                                                                                        26 error (id. at 21:3–12) and that NuSil LLC “has always been a holding company” and never
                                                                                                        27 manufactured products (see id. at 26:25–27:8).
                                                                                                        28
                                                                                                                                                          6
                                                                                                                              DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
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                                                                                                         1                In addition, he clarified that this error was corrected in July 2018 and
                                                                                                         2 authenticated the amended NuSil LLC Statement of Information stating that the purpose of
                                                                                                         3 the business was indeed an “Investment holding entity” as it always had been. Id. at 21:13–
                                                                                                         4 17; see also Ex. I, NuSil LLC Secretary of State Statement of Information (Exhibit 1 to
                                                                                                         5 Mraz Dep.).
                                                                                                         6                In short, Mr. Mraz’s deposition testimony unequivocally demonstrates that
                                                                                                         7 NuSil LLC is not a properly named defendant in these actions.
                                                                                                         8                In fact, at a break late in the deposition, Plaintiffs’ counsel Lowell Finson even
                                                                                                         9 told all defense counsel—including counsel for Mentor, Dustin Rawlin and Monee Hanna
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                                                                                                        10 and counsel for NuSil LLC, Melissa Fassett—that they were going to need to dismiss NuSil
                                                                                                        11 LLC because it appeared it was not a proper party and, if removal was the consequence of
                                                                                                        12 that, so be it. Rawlin Decl. ¶¶ 5–6.
                                                                                                        13 IV. THE INSTANT NOTICE OF REMOVAL IS TIMELY
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                                                                                                                          “[A] notice of removal may be filed within 30 days after receipt by the
                                                                                                        14
                                                                                                             defendant, through service or otherwise, of a copy of an amended pleading, motion, order
                                                                                                        15
                                                                                                             or other paper from which it may first be ascertained that the case is one which is or has
                                                                                                        16
                                                                                                             become removable.” 28 U.S.C. § 1446 (emphasis added).
                                                                                                        17
                                                                                                                          In the Ninth Circuit, discovery responses and deposition testimony constitute
                                                                                                        18
                                                                                                             “other paper” and can trigger the thirty-day removal period. Carvalho v. Equifax Info.
                                                                                                        19
                                                                                                             Servs., LLC, 629 F.3d 876, 886–87 (9th Cir. 2010) (holding that deposition testimony can
                                                                                                        20
                                                                                                             qualify as “other paper” when a defendant is able to reasonably determine for the first time
                                                                                                        21
                                                                                                             that subject matter jurisdiction exists); Rider v. Sears Roebuck & Co., 2011 WL 2222171,
                                                                                                        22
                                                                                                             at *3–4 (C.D. Cal. June 7, 2011); Williams v. Hilarides, 2012 WL 2339335, at *2 (E.D.
                                                                                                        23
                                                                                                             Cal. June 19, 2012).
                                                                                                        24
                                                                                                                          Other federal courts around the country agree that discovery responses and
                                                                                                        25
                                                                                                             deposition testimony can qualify as “other paper” sufficient to re-open the thirty-day
                                                                                                        26
                                                                                                             removal window. See, e.g., Peters v. Lincoln Elec. Co., 285 F.3d 456, 466 (6th Cir. 2002)
                                                                                                        27
                                                                                                             (“Although this Circuit has not squarely addressed the issue of whether a deposition may
                                                                                                        28
                                                                                                                                                            7
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                                                                                                         1 constitute an ‘other paper’ for purposes of Section 1446(b), the majority of courts that have
                                                                                                         2 considered this issue have answered the question in the affirmative.”); S.W.S. Erectors, Inc.
                                                                                                         3 v. Infax, Inc., 72 F.3d 489, 493–94 (5th Cir. 1996); Huffman v. Saul Holdings Ltd. P’ship,
                                                                                                         4 194 F.3d 1072, 1077–78 (10th Cir. 1999).
                                                                                                         5               This thirty-day period applies even to cases which have previously been
                                                                                                         6 removed and remanded, so long as the latter removal is “based on information not available
                                                                                                         7 at the prior removal.” See Sweet v. United Parcel Serv., Inc., 2009 WL 1664644, at *3
                                                                                                         8 (C.D. Cal. June 15, 2009) (“Where a court has previously remanded a removed action for
                                                                                                         9 a defendant’s failure to meet its burden, successive notices of removal, though not
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                                                                                                        10 necessarily barred, generally must be based on information not available at the prior
                                                                                                        11 removal.”); see also Barahona v. Orkin, 2008 WL 4724054, at *2 (C.D. Cal. Oct. 21, 2008)
                                                                                                        12 (explaining that successive removals must be based on “newly discovered facts not
                                                                                                        13 available at the time of the first removal”); cf. Andersen v. Schwan Food Co., 2014 WL
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                                                                                                        14 1266785, at *5 (C.D. Cal. Mar. 26, 2014) (explaining the converse—i.e., subsequent
                                                                                                        15 removals based on information that was available at the time the initial removal was filed
                                                                                                        16 are improper); Lockhart v. Columbia Sportswear Co., 2016 WL 2743481, at *3, n.3 (C.D.
                                                                                                        17 Cal. May 11, 2016) (“New evidence discovered in a deposition may be grounds for a
                                                                                                        18 successive removal.”).
                                                                                                        19               Here, these cases did not become removable until the issue of fact identified
                                                                                                        20 by the Vieira court (see supra Part III.B (discussing Vieira Order)) was resolved—i.e.,
                                                                                                        21 whether NuSil LLC “never manufactured silicone.”3 As such, it was not until May 9, 2019,
                                                                                                        22 when Mr. Mraz testified that NuSil LLC is simply a holding company that has never been
                                                                                                        23 involved in the manufacture, distribution, or design of silicone gel or silicone gel products
                                                                                                        24 used in Mentor breast implants, that these cases became removable.
                                                                                                        25
                                                                                                        26 3 By raising this issue, the Vieira court recognized that, if NuSil LLC was never involved
                                                                                                        27 in the supply chain of silicone gel products used in Mentor’s breast implants, then there is
                                                                                                           no credible basis by which Plaintiffs could state a claim against NuSil LLC and would
                                                                                                        28 therefore not be a proper party to the MemoryGel Implant cases.
                                                                                                                                                          8
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                                                                                                         1                Put simply, the new information gleaned from Mr. Mraz’s May 9, 2019
                                                                                                         2 deposition and his authentication of the amended Statement of Information constitutes the
                                                                                                         3 “other paper” that makes a successive removal in this case proper, so long as it is filed
                                                                                                         4 within thirty days, i.e., on or before June 8, 2019. Thus, this Notice of Removal is timely.
                                                                                                         5 V. REMOVAL IS PROPER BECAUSE NUSIL LLC IS FRAUDULENTLY
                                                                                                                JOINED AND THEREFORE THE COURT HAS ORIGINAL SUBJECT
                                                                                                         6      MATTER JURISDICTION PURSUANT TO 28 U.S.C. § 1332(A)
                                                                                                         7                As more fully set forth below, this case is properly removed to this Court
                                                                                                         8 pursuant to 28 U.S.C. § 1441 because (1) this Court now has subject matter jurisdiction
                                                                                                         9 over this action under 28 U.S.C. § 1332 as complete diversity exists between all properly
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                                                                                                        10 joined parties (given that Mr. Mraz’s deposition testimony confirms that NuSil LLC is
                                                                                                        11 fraudulently joined) and the amount in controversy exceeds $75,000, exclusive of interest
                                                                                                        12 and costs, and (2) Mentor has satisfied the procedural requirements for removal.
                                                                                                        13         A. Complete Diversity of Citizenship Exists Among All Properly Joined
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                                                                                                                      Plaintiffs and All Properly Joined and Served Defendants.
                                                                                                        14
                                                                                                                          Plaintiff Billetts alleges that she is a citizen and resident of San Bernardino
                                                                                                        15
                                                                                                             County, California. See Ex. A, Compl. ¶ 1. Plaintiff Billetts is therefore a citizen of the
                                                                                                        16
                                                                                                             State of California for purposes of section 1332(c)(1).
                                                                                                        17
                                                                                                                          Plaintiff Aguiar alleges that she is a citizen and resident of Miami-Dade
                                                                                                        18
                                                                                                             County, Florida. See id. ¶ 2. Plaintiff Aguiar is therefore a citizen of the State of Florida
                                                                                                        19
                                                                                                             for purposes of section 1332(c)(1).
                                                                                                        20
                                                                                                                          Plaintiff Delmonico alleges that she is a citizen and resident of Newport
                                                                                                        21
                                                                                                             County, Rhode Island. See id. ¶ 3. Plaintiff Delmonico is therefore a citizen of the State of
                                                                                                        22
                                                                                                             Rhode Island for purposes of section 1332(c)(1).
                                                                                                        23
                                                                                                                          Plaintiff Ditto alleges that she is a citizen and resident of Seminole County,
                                                                                                        24
                                                                                                             Florida. See id. ¶ 4. Plaintiff Ditto is therefore a citizen of the State of Florida for purposes
                                                                                                        25
                                                                                                             of section 1332(c)(1).
                                                                                                        26
                                                                                                                          Plaintiff Johnson alleges that she is a citizen and resident of Lee County,
                                                                                                        27
                                                                                                             Mississippi. See id. ¶ 5. Plaintiff Johnson is therefore a citizen of the State of Mississippi
                                                                                                        28
                                                                                                             for purposes of section 1332(c)(1).
                                                                                                                                                             9
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                                                                                                         1                The Complaint includes, in addition to three named defendants (see infra
                                                                                                         2 ¶¶ 47–49), a number of fictitious defendants, whose citizenships are ignored for removal
                                                                                                         3 purposes (28 U.S.C. § 1441(b)).
                                                                                                         4                Mentor is a limited liability company organized and existing under the laws
                                                                                                         5 of the State of Delaware. Mentor’s sole member is, and was at the time the Complaint was
                                                                                                         6 filed, Ethicon, Inc. Ethicon, Inc. is, and was at the time the Complaint was filed, a
                                                                                                         7 corporation organized and existing under the laws of the State of New Jersey with its
                                                                                                         8 principal place of business in New Jersey. Accordingly, Ethicon is a citizen of New Jersey.
                                                                                                         9 A limited liability company “is a citizen of every state of which its owners/members are
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                                                                                                        10 citizens.” Johnson v. Columbia Props. Anchorage, L.P., 437 F.3d 894, 899 (9th Cir. 2006);
                                                                                                        11 see also Hale v. Mastersoft Int’l Pty. LTD, 93 F. Supp. 2d 1108, 1112 (D. Colo. 2000)
                                                                                                        12 (explaining that “courts . . . have uniformly held that a limited liability company is a citizen
                                                                                                        13 of the states of which its members are citizens, and is not a citizen of the state in which it
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                                                                                                        14 was organized unless one of its members is a citizen of that state[,]” and holding that
                                                                                                        15 limited liability company organized in Delaware, whose two members were Colorado
                                                                                                        16 citizens, was a citizen only of Colorado and not Delaware for purposes of determining
                                                                                                        17 whether diversity jurisdiction existed) (citing supporting authority). Accordingly, for
                                                                                                        18 purposes of section 1332(c)(1), Mentor is a citizen of the State of New Jersey.
                                                                                                        19                NuSil Technology LLC is, and was at the time the Complaint was filed, a
                                                                                                        20 limited liability company organized and existing under the laws of the State of Delaware.
                                                                                                        21 See Ex. J, Declaration of Stacy Broad ¶ 3. NuSil Technology LLC’s sole member is, and
                                                                                                        22 was at the time the Complaint was filed, NuSil Investments LLC. Id. ¶ 4. NuSil Investments
                                                                                                        23 LLC is, and was at the time the Complaint was filed, a limited liability company organized
                                                                                                        24 and existing under the laws of the State of Delaware. Id. ¶ 5. NuSil Investments LLC’s two
                                                                                                        25 members are, and were at the time the Complaint was filed, NuSil Acquisition Corporation
                                                                                                        26 and Avantor Intermediate Holdings LLC. Id. ¶ 6. NuSil Acquisition Corporation is, and
                                                                                                        27 was at the time the Complaint was filed, a Delaware corporation with its principal place of
                                                                                                        28 business in Pennsylvania. Id. ¶ 7. Avantor Intermediate Holdings LLC is, and was at the
                                                                                                                                                           10
                                                                                                                               DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
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                                                                                                         1 time the Complaint was filed, a limited liability company organized and existing under the
                                                                                                         2 laws of the State of Delaware. Id. ¶ 8. Avantor Intermediate Holdings LLC’s two members
                                                                                                         3 are, and were at the time the Complaint was filed, Avantor Topco Sub, LLC and Avantor,
                                                                                                         4 Inc. Id. ¶ 9. Avantor Topco Sub, LLC is, and was at the time the Complaint was filed, a
                                                                                                         5 limited liability company organized and existing under the laws of the State of Delaware.
                                                                                                         6 Id. ¶ 10. Avantor Topco Sub, LLC’s sole member is Avantor, Inc. Id. ¶ 11. Avantor, Inc.
                                                                                                         7 is, and was at the time the Complaint was filed, a Delaware corporation with its principal
                                                                                                         8 place of business in Pennsylvania. Id. ¶ 12. A limited liability company “is a citizen of
                                                                                                         9 every state of which its owners/members are citizens.” See Johnson, 437 F.3d at 899.
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                                                                                                        10 Accordingly, for purposes of section 1332(c)(1), NuSil Technology LLC is a citizen of
                                                                                                        11 Delaware and Pennsylvania.
                                                                                                        12               NuSil LLC is, and was at the time the Complaint was filed, a limited liability
                                                                                                        13 company organized and existing under the laws of the State of California. NuSil LLC’s
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                                                                                                        14 members are individuals residing in California, including Richard Compton, Edward Scott
                                                                                                        15 Mraz, Thomas Banigan, James Yabsley, Keith Reichel, Brian Nash and Cyrus Morici.
                                                                                                        16 Accordingly, for purposes of section 1332(c)(1), NuSil LLC is a citizen of California. See
                                                                                                        17 id.
                                                                                                        18               The Court, however, should disregard the citizenship of NuSil LLC because—
                                                                                                        19 as Mr. Mraz’s deposition makes clear—NuSil LLC is not a proper defendant in this case
                                                                                                        20 and has been fraudulently joined for the sole purpose of attempting to destroy diversity
                                                                                                        21 jurisdiction. See supra Part III.D. Because the undisputed evidence establishes that NuSil
                                                                                                        22 LLC is merely a holding company that transacts no business of its own; has not developed,
                                                                                                        23 designed, manufactured, supplied, or distributed any products, including the silicone raw
                                                                                                        24 materials, used by Mentor to manufacture the MemoryGel Implant; and exercises no
                                                                                                        25 control over any company that manufacturers silicone or silicone products, there is no
                                                                                                        26 possibility that Plaintiffs could recover damages from NuSil LLC in this case. Id.;
                                                                                                        27 Grancare LLC v. Thrower ex rel. Mills, 889 F.3d 543, 548–50 (9th Cir. 2018) (explaining
                                                                                                        28 that fraudulent joinder applies if there is no possibility that the plaintiff could recover on
                                                                                                                                                          11
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                                                                                                         1 her claims against the non-diverse defendant in state court.); Padilla v. AT & T Corp., 697
                                                                                                         2 F. Supp. 2d 1156, 1159 (C.D. Cal. 2009). The Court may therefore disregard the citizenship
                                                                                                         3 of NuSil LLC and find that it has diversity jurisdiction over this action. Allen v. Eli Lilly &
                                                                                                         4 Co., 2010 WL 3489366, at *1–2 (S.D. Cal. Sept. 2, 2010); McCabe v. Gen. Foods Corp.,
                                                                                                         5 811 F.2d 1336, 1339 (9th Cir. 1987); see also Ritchey v. Upjohn Drug Co., 139 F.3d 1313,
                                                                                                         6 1318 (9th Cir. 1998) (“It is a commonplace that fraudulently joined defendants will not
                                                                                                         7 defeat removal on diversity jurisdiction grounds.”).
                                                                                                         8               In short, diversity of citizenship of all properly joined parties (i.e., all named
                                                                                                         9 parties, except NuSil LLC) exists under 28 U.S.C. § 1332: Plaintiffs are citizens of
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                                                                                                        10 California, Rhode Island, Florida, and Mississippi, Mentor is a citizen of New Jersey, and
                                                                                                        11 NuSil Technology LLC is a citizen of Delaware and Pennsylvania.
                                                                                                        12         B.   The Amount in Controversy Requirement Is Satisfied.
                                                                                                        13               Removal is proper under section 1446(c)(2)(B) if the Court finds that the
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                                                                                                        14 amount in controversy exceeds $75,000, exclusive of interest and costs.
                                                                                                        15             The parties in the Mentor MemoryGel Implant actions do not contest that
                                                                                                        16 amount in controversy in each case exceeds this $75,000 benchmark. See, e.g., Ex. F,
                                                                                                        17 Vieira Order at 3 (“The parties do not dispute that this case places more than $75,000 in
                                                                                                        18 controversy.”).
                                                                                                        19             Moreover, reported verdicts and settlements in cases with damage allegations
                                                                                                        20 similar to those in these actions case exceed $75,000. See Jacob Notice of Removal (Case
                                                                                                        21 No. 2:19-cv-01484, Dkt. 1) at 11–16 & corresponding exhibit.
                                                                                                           VI. MENTOR HAS SATISFIED THE OTHER PROCEDURAL AND VENUE
                                                                                                        22      REQUIREMENTS FOR REMOVAL
                                                                                                        23               The Superior Court of California, County of San Bernardino is located within
                                                                                                        24 the Central District of California. See 28 U.S.C. § 84(c)(2). Removal to this Court under
                                                                                                        25 section 1441(a) is proper because the Central District of California is the “district and
                                                                                                        26 division embracing the place where such action is pending.”
                                                                                                        27             In compliance with 28 U.S.C. § 1446(a), a copy of all process, pleadings, and
                                                                                                        28 orders received is attached as Exhibits A–D.
                                                                                                                                                          12
                                                                                                                               DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
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                                                                                                         1               Pursuant to 28 U.S.C. § 1446(b)(2)(A), Mentor has received the consent of
                                                                                                         2 the NuSil Defendants to this removal. Copies of the NuSil Defendants’ consents are
                                                                                                         3 attached as Exhibit K.
                                                                                                         4               Under 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served
                                                                                                         5 on Plaintiffs’ counsel and a copy is being filed with the Clerk of the Superior Court of
                                                                                                         6 California, County of San Bernardino.
                                                                                                         7               Mentor reserves all defenses to Plaintiffs’ claims.
                                                                                                         8         ACCORDINGLY, Mentor removes this action and gives notice to Plaintiffs and to
                                                                                                         9 the Superior Court of California, County of San Bernardino, that the State Court Action
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                                                                                                        10 shall proceed no further pursuant to 28 U.S.C. § 1446(d).
                                                                                                        11
                                                                                                        12
                                                                                                             DATED: June 5, 2019                         TUCKER ELLIS LLP
                                                                                                        13
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                                                                                                        14
                                                                                                        15                                               By: /s/ Monee Takla Hanna
                                                                                                        16                                                   MONEE TAKLA HANNA
                                                                                                                                                             Attorneys for Defendant MENTOR
                                                                                                        17                                                   WORLDWIDE LLC
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